Case  1:22-cv-20707-JEM Document 19-6 Entered on FLSD
FOR ATTORNEY / LAW FIRM PURPOSES ONLY
                                                        Docket 06/05/2022 Page 1 of 5
                                                  AMIT FORLIT-Comprehensive-Report-202205171101




                                                           Table of Contents
Subject Information ............................................................................................................................................. 2
Redacted for Privacy




                                                                 Page 1 of 5 05/17/2022
Case  1:22-cv-20707-JEM Document 19-6 Entered on FLSD
FOR ATTORNEY / LAW FIRM PURPOSES ONLY
                                                        Docket 06/05/2022 Page 2 of 5
                                                  AMIT FORLIT-Comprehensive-Report-202205171101




Important:                                                                                                ONLINE REPORT

This is NOT a CONSUMER REPORT and does not constitute a "consumer report" under the Fair Credit Reporting Act ("FCRA"). This
report may not be used to determine the eligibility for credit, insurance, employment or any other purpose regulated under the
FCRA.

This system may be used only in accordance with your Subscriber Agreement, the Gramm-Leach-Bliley Act ("GLBA"), the Driver's
Privacy Protection Act ("DPPA") and all other applicable laws. User agrees to having knowledge of all applicable laws pertaining to
the usage of data. User accepts all responsibility civilly and criminally for any use of this system.

Violations of these restrictions or misuse of this system will cause your access to be terminated and will cause an immediate
investigation.



                                                 Comprehensive Report



Comprehensive Report                           Report Legend
Date: 05/17/2022                                       - Deceased Person                 Relatives
Reference ID: 374700.011                                                                         > - 1st Degree of Separation
                                                                                                 >> - 2nd Degree of Separation
                                                                                                 >>> - 3rd Degree of Separation



Subject Information                                                                         Redacted for
                                                                                            Privacy

(Best Information for Subject)

Name: AMIT FORLIT (09/16/2021 to 09/16/2021)

Date of Birth: Redact /1967, Born 54 years
ago            ed for
Gender: MalePrivacy
SSN: Redac -9459 issued in NEW YORK
between
     ted1990-1991
           for
     Privac
     y
Other Individuals Observed with shared SSN:
ALON O GURLAVIE Redacted -9459
Red /1967 (54)       for
OMIR A GURLAVIE Redacted
acte                 Privacy -9459
d for           for
Priva           Privacy
cy
Redacted for Privacy




                                                     Page 2 of 5 05/17/2022
Case  1:22-cv-20707-JEM Document 19-6 Entered on FLSD
FOR ATTORNEY / LAW FIRM PURPOSES ONLY
                                                        Docket 06/05/2022 Page 3 of 5
                                                  AMIT FORLIT-Comprehensive-Report-202205171101




Address Summary (1 Found)

Redacted for    MIAMI, FL 33177 (MIAMI-DADE COUNTY) (09/16/2021 to 09/16/2021)
Privacy

Address Details (1 Found)

Redacted for MIAMI FL 33177 (MIAMI-DADE COUNTY) (09/16/2021 to 09/16/2021)       [ Back to Summary ]
 Current Commercial Phones at address
Privacy
  Redact 9219(ET) - ADT DEALER HOME SECURITY CONCEPTS
  Redact
  ed for 7575(ET) - CHICKEE HUTS INC
  Redact
  ed   for 1311(ET) - LURIM TECHNOLOGIES
  Privacy
  Redact
  ed   for 7270(ET) - LURIM TECHNOLOGIES
  Privacy
  Redact
  ed   for 0928 - LURIM TECHNOLOGIES
  Privacy
  Redact
  ed   for 1059 - LURIM TECHNOLOGIES
  Privacy
  Redact
  ed   for 6480(ET) - MAIL MART USA
  Privacy
   (Redact
  ed   for 7575(ET) - OUTDOOR KITCHE N DREAMS
  Privacy
  Redact
    ed for -9395(ET) - RRR GENERAL CONSTRUCTIONS
  Privacy
  Redact
  ed   for -2192(ET) - WE CLEAN GARAGES
    Privacy
    Redac
  (ed  for -4968 - WECLEANGARAGES.COM
  Privacy
  Redact
    ted for -4829(ET) - WOODRUFF & CO. LLC
  Privacy
  ed   for
    Privac
  Privacy
    y

Cities History (1 Found)

MIAMI, FL (MIAMI-DADE COUNTY) (09/16/2021 to 09/16/2021)



Counties History (1 Found)

MIAMI-DADE, FL (09/16/2021 to 09/16/2021)



Redacted for Privacy




Redacted for Privacy




                                                  Page 3 of 5 05/17/2022
Case  1:22-cv-20707-JEM Document 19-6 Entered on FLSD
FOR ATTORNEY / LAW FIRM PURPOSES ONLY
                                                        Docket 06/05/2022 Page 4 of 5
                                                  AMIT FORLIT-Comprehensive-Report-202205171101



Redacted for Privacy




             Redacted for
             Privacy


Redacted for Privacy




                  Redacted for
                  Privacy




                                      Page 4 of 5 05/17/2022
Case  1:22-cv-20707-JEM Document 19-6 Entered on FLSD
FOR ATTORNEY / LAW FIRM PURPOSES ONLY
                                                        Docket 06/05/2022 Page 5 of 5
                                                  AMIT FORLIT-Comprehensive-Report-202205171101




Redacted for Privacy




                                      Page 5 of 5 05/17/2022
